
The Supreme Court affirmed the judgment of the Quarter Sessions on the 25th May, 1885, in the following opinion i
Per Curiam.
The learned judge below found from the evidence that the pauper had a settlement in White Deer Township. She testifies; “Shortly after my husband died, I went to Mrs. Fanny Stokes to live, White Deer Township. I staid there 6 or 7 weeks and then I went to David Stahl’s to live. They both lived on the same farm in White Deer Township. I staid there about 5 years, made a bargain with him. He was to give me my victuals and clothes for my work. He gave me good clothes.” There was additional proof that she lived at Stahl’s, indeed that fact was not d.emed, but Stahl testified there was no contraet between them, and that he took her in as a matter of charity. The tes*386timony of the pauper, and that of Stahl is not easily reconciled. The Court below credited the former and we cannot say this was error.
Judgment affirmed.
